Case 1:17-cr-00201-AB.] Document 206 Filed 02/23/18 Page 1 of 8

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C|erk, U.S. District & Bankruptcy

UN]TED STATES OF AMER]CA * Courts for the Dlstrict 01 Columbla
* CRIMINAL NO. 17-201-02 (ABJ)
*

v. * Violation: 18 U.S.C. § 371

* (Conspiracy against the United States)
*

RICHARD W. GATES III, *
*

Defendant. *
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STATEMENT OF THE OFFENSE
Pursuant to the Federal Rules of Criminal Procedure 1 l, the United States and the
defendant RICHARD W. GATES lll (GATES) stipulate and agree that the following facts are
true and accurate. These facts do not constitute all of the facts known to the parties concerning
the charged offense and covered conduct. This statement is being submitted to demonstrate that

sufficient facts exist to establish that the defendant committed the offense to which he is pleading

guilty.
Count 1 Conspiragj 118 U.S.C. § 3711
l. At all relevant times herein, GATES worked as an employee at companies run by Paul J.

Manafort, Jr., and other principals, namely Davis Manafort Partners, Inc. (DMP) and DMP
International, LLC. (Dl\/II). Manafort engaged in a variety of criminal schemes, and GATES as
part of his work for Manafort, DMP, and DMI knowingly and intentionally conspired with
Manafort to assist him in the criminal schemes that make up Count One of the Indictment, as more

fully set forth below.

Page 1 of 8

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Case 1:17-cr-OO20l-AB.] Document 206 Filed 02/23/18 Page 2 of 8

A. Tax and FBAR Scheme

26 U.S.C. §§ 7206(]) and 7206(2)

31 U.S.C. 355 5314 and 5322(1))
2. l"rom 2008 through 2014, l\/lanafort, with the assistance of G/-\'l`ES, caused millions of
dollars of wire transfers to be made from offshore nominee accounts, without l\/lanafort paying
taxes on that income. The payments were made for goods_, services, and real estate. Manafort,
again with the assistance ofGATES, also hid income by denominating various overseas payments
as “loans,” thereby evading payment of any taxes on that income by l\/lanafort.
3. GATES, acting on the authority of l\/lanafort, routinely dealt with l\/lanafort’s tax
accountants in the preparation ofl\/Ianafort’s tax returns GATES was authorized by Manafort to
answer questions from l\/lanafort’s accountants, to provide documents and other information, and
to review l\/lanafort’s draft and finalized income tax returns. ln doing so, GATES, with l\/lanafort’s
knowledge and agreement, repeatedly misled l\/lanafort’s aceountants, including by not disclosing
l\/lanafort’s overseas accounts and the income. Further, GATES, acting at l\/lanafort’s instruction,
continued to classify overseas payments made to Manafort as “loans” to avoid incurring additional
taxes on the income.
4. Manafort, with GATES’ assistance, owned and controlled a range of foreign bank accounts
in Cyprus and the Grenadines. GATES helped maintain these accounts and arranged substantial
transfers from the accounts to both Manafort and himself. GATES was aware that many ofthese
accounts held well in excess of$ l 0,()00 in the aggregate at some point during each year in which
they existed. GATES, acting at Manafort’s instruction, did not report the aceounts’ existence to
Manafort’s tax accountants in an effort to hide them, and to allow Manafort to avoid disclosing
their existence on an FBAR filing.

5. GATES was aware at the time that it was illegal to hide income from the lnternal Revenue

Page 2 of8

Case 1:17-cr-00201-AB.] Document 206 Filed 02/23/18 Page 3 of 8

Service (IRS) by failing to account for reportable income on Manafort’s income tax returns.
GATES was also aware that it was illegal to fail to report information to the IRS regarding the
existence of foreign bank accounts, as required by Schedule B of the IRS Form 1040. GATES
also understood at the time that a U.S. person who had a financial interest in, or signature or other
authority over, a bank account or other financial account in a foreign country, which exceeded
$10,000 in any one year (at any time during that year), was required to report the account to the
Department of the Treasury. GATES also understood, after 2010, that the failure to make such a

report constituted a crime.

B. FARA Scheme
22 U.S.C. 88 612 and 618(al(1)

6. GATES understood that it was illegal to engage in certain activities in the United States as
an agent of a foreign principal without registering with the United States Government.
Specifically, a person who engages in lobbying or public relations work in the United States
(hereafter collectively referred to as lobbying) for a foreign principal such as the Government of
Ukraine or the Party of Regions is required to register. Manafort, together with GATES’
assistance, engaged in a scheme to avoid this registration requirement for DMl, Manafort, and
others.

7. lt was part ofthis scheme that in or about 2012 Manafort and others obtained the approval
of Ukraine President Yanukovych to implement a global lobbying strategy to promote Ukraine’s
interests, including entry into the European Union. This was dubbed the anti-crisis project or AC
project. Thereafter, Dl\/ll, through Manafort, and with the assistance of GATES, worked with
various entities and people to lobby in the United States, among other locations. As part of this

scheme, the European Centre for a l\/Iodern Ukraine (the Centre) was set up by the Government of

Page 3 of8

Case 1:17-cr-00201-AB.] Document 206 Filed 02/23/18 Page 4 of 8

Ukraine to coordinate lobbying principally in Europe, as well as to act as the ostensible client for
two lobbying firms in the United States. The Centre reported to Ukraine Party ofRegions member,
and Ukraine First \/ice Primc l\/linister, Andriy Klyuyev. The Centre largely oversaw European
lobbying and l\/lanafort and GATES generally oversaw the work of lobbyists in the United States.
8. As one part ofthe AC Project, in February 2012, GATES solicited two Washington, D.C.,
firms (Company A and Company B) to lobby in the United States on behalfofthe Party ofRegions.
For instance on February 21_, 2012, GATES wrote to Company A that it would be “representing
the Government of Ukraine in [Washington,] DC."'

9. The general division of labor in managing Companies A and B’s lobbying activities was
that Manafort would communicate with Yanukovych and his staff, and GATES dealt with
coordinating the work of the two firms. For instance, in November 2012, GATES wrote to the
firms that they needed to prepare an assessment oftheir past and prospective lobbying efforts so
the “President” could be briefed by “Paul” “on what Ukraine has done well and what it can do
better as we move into 2013.” The two firms engaged in extensive United States lobbying Among
other things, they lobbied multiple l\/lembers of Congress and their staffs about Ukraine sanetions,
the validity of Ukraine elections, and the propriety of Yanukovych’s imprisoning his presidential
rival, Yu|ia Tymoshenko.

10. GATES, at l\/lanafort’s instruction, worked with Company /\ to arrange for Manafort to
lobby personally in the United States. Specifically, they arranged a meeting in March 2013 in
Washington, D.C. attended by Manafort, a senior Company A lobbyist, and a l\/lember of Congress
who was on a subcommittee that had Ukraine within its purview. Af`ter the meeting, Manafort,
with GATES" assistance, prepared a l\/larch 2013 report to Yanukovych’s office that the meeting

"went well,” and reported a series ofpositive developments from the meeting.

Page 4 of`8

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Case 1:17-cr-00201-AB.] Document 206 Filed 02/23/18 Page 5 of 8

l l. To distance their public United States lobbying work from the Government of Ukraine,
GATES and others arranged for the Centre to represent falsely that it was not “directly or indirectly
supervised, directed, [or] controlled” in whole or in major part by the Government of Ukraine or
the Party ofRegions. GATES knew at the time that the Centre was under the direction of Party of
Regions. GATES provided false and misleading representations to a law firm for Company A,
which was assessing whether a filing was required under FARA. GATES understood that the false
and misleading representations would permit Companies A and B not to register their activities
pursuant to FARA.

l2. ln September 2016, the Department ofJustice informed l\/lanafort, GATES, and Dl\/ll that it
sought to determine whether they had acted as agents ofa foreign principal under FARA without
registering ln November 2016 and February 2017, GATES and l\/lanafort caused false and
misleading letters to be submitted to the Department ofJustice. The letters represented, among
other things, that:

¢ Dl\/ll’s “efforts on behalf ofthe Party ofRegions” “did not include meetings or
outreach within the U.S.”;

¢ GATES did not “recall meeting with or conducting outreach to U.S.
government officials or U.S. media outlets on behalf of the [Centre], nor do
they recall being party to, arranging, or facilitating any such communications
Rather, it is the recollection and understanding of l\/lessrs. Gates and Manafort
that such communications would have been facilitated and conducted by the
[Centre’s] U.S. consultants, as directed by the [Centre]. . . .”;

¢ GATES had merely served as a means of introduction of Companies A and B

to the Centre and provided the Centre with a list of “potential U.S.-based

Page 5 of8

Case 1:17-cr-00201-AB.] Document 206 Filed 02/23/18 Page 6 of 8

consultants_including [Company A] and [Company B]_f"or the [Centre’s]
reference and further consideration."
¢ Dl\/ll “does not retain communications beyond thirty days"’ and as a result of

this policy, a "search has returned no responsive documents."` The November

2016 letter attached a one-page, undated document that purported to be a Dl\/ll

“Email Retention Policy.”
13. ln fact, GATES knew that the above was false or misleading He and l\/lanafort had selected
Companies A and B without the Centre. Further, GATES engaged in weekly scheduled calls and
frequent emails with them to provide them directions as to specific lobbying steps that should be
taken; sought and received detailed oral and written reports from these firms on the lobbying work
they had performed; wrote communications for l\/lanafort, at his request, to brief Yanukovych on
their lobbying efforts; and arranged for payment to the lobbying firms of over $2 million from
offshore accounts, among other things. ln addition, GATES had provided his then FARA counsel
a Dl\/ll document retention policy to create the misleading appearance that Dl\/ll and its employees
did not have responsive documents to provide to the Department ofJustice, when he knew that
they in fact did.
14. As another part of the lobbying scheme, in or about and between 2012 and 2013 the Party
of Regions, through l\/lanafort, GATES and others, secretly retained a group of former senior
European politicians to take positions favorable to Ukraine, including lobbying in the United
States. Although the former politicians would appear to be providing their independent
assessments ofactions by the Government okaraine, in fact they were paid lobbyists for Ukraine_
ln or about 2012 through 2013, GATES, at l\/lanafort’s instruction, used at least four offshore

accounts to wire more than 2 million euros to pay the group of former politicians GATES

Page 6 of8

Case 1:17-cr-00201-AB.] Document 206 Filed 02/23/18 Page 7 of 8

understood that none of the former politicians registered under FARA.
15. 1n 2013, foreign politicians who were part ofthis group lobbied United States Members of
Congress, the Executive Branch, and their staffs in coordination with Manafort, GATES, and
Companies A and B.

Criminal Information/ False Statement (18 U.S.C. § 1001)
l6. On Februaly 1, 2018, GATES attended a proffer session with his counsel at the Special
Counsel’s Office, which included Special Agents from the Federal Bureau of
lnvestigation. During questioning concerning a March 19, 2013 meeting involving Manafort, a
senior Company A lobbyist, and a Member of Congress who was on a subcommittee that had
Ukraine within its purview, GATES stated falsely that he Was told by Manafort and the senior
Company A lobbyist that there were no discussions of Ukraine at the meeting At the time of his
proffer statement, GATES knew that: (a) Manafort and the senior Company A lobbyist had not
made the above statements to him; (b) Manafort and the senior Company A lobbyists had told him
that the meeting went well; (c) GATES had participated with Manafort in preparing a report that
memorialized for Ukraine leadership the pertinent Ukraine discussions that Manafort represented
had taken place at the meeting; and (d) Manafort told GATES in 201 6 that Manafort told his FARA
lawyer that there had been no discussion of Ukraine at the l\/Ieeting.

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Kyle R. Freeny
Brian l\/I. Richardson
Senior/Assistant Special Counsels

Page 7 of 8

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Case 1:17-cr-00201-AB.] Document 206 Filed 02/23/18 Page 8 of 8

DEFENDANT’S ACCEPTANCE
"l`he preceding statement is a summary` made for the purpose ofproviding the Court with
a factual basis for my guilty plea to the charge against me. lt does not include all ofthe facts
known to me regarding this offense. l make this statement knowingly and voluntarily and
because 1 am, in fact, guilty ofthe crime charged No threats have been made to me nor am 1
under the influence of anything that could impede my ability to understand this Statement of
Offense fully.

1 have read every word ofthis Statement ofthe Offense or have had it read to me.
Pursuant to Federal Rule ofCriminal Procedure l l, after consulting with my attorneys, 1 agree
and stipulate to this Statement ofthe Office, and declare under penalty that it is true and correct.

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Defcndant

A'|"|`ORN|`§Y’§ ACKNOWLEDGEMENT
1 have read this statement ofthe Offense, and have reviewed it with my client fully. 1

concur in my client’s desire to adopt and stipulate to ` Statement f the Offense as true and
accurate.

Date: 2¢ / -
Thomas C. Greent}l?.sq.

Attorney for the Defendant

 

 

Page 8 of 8

